                Case 2:19-cr-00660-CJC Document 98 Filed 01/11/21 Page 1 of 5 Page ID #:442
                                                        United States District Court
                                                        Central District of California


UNITED STATES OF AMERICA vs.                                                Docket No.             2:19-cr-00660-CJC-1

Defendant     JAVIER CERVANTES-HERMOSILLO                                   Social Security No. N           O    N     E
      Cervantes Hermos, Javier;
                                                                            (Last 4 digits)
akas: Cervantes, Javier

                                          JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                     MONTH   DAY   YEAR
           In the presence of the attorney for the government, the defendant appeared in person on this date.         01     11    2021


 COUNSEL                                                                   Ijeoma Eke, DFPD
                                                                             (Name of Counsel)

     PLEA             X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO              NOT
                                                                                                                CONTENDERE          GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
  FINDING

                      Conspiracy to Distribute and Possess With Intent to Distribute Fentanyl in violation of 21 U.S.C. § 846, 21 U.S.C.
                      § 841(b)(1)(A) as charged in Count 1 of the Indictment;

                      Possession With Intent to Distribute Fentanyl in violation of 21 U.S.C. § 841(a)(1), 21 U.S.C. § 841(b)(1)(A)(vi)
                      and 18 U.S.C. § 2(a) as charged in Count 2 of the Indictment; and

                      Possession With Intent to Distribute Methamphetamine in violation of 21 U.S.C. § 841(a)(1), 21 U.S.C. §
                      841(b)(1)(A)(viii) as charged in Count 3 of the Indictment.

JUDGMENT              The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
AND PROB/             contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
  COMM                that pursuant to the Sentencing Reform Act of 1984, the defendant, JAVIER CERVANTES-HERMOSILLO, be committed
  ORDER               on Counts 1, 2 and 3 of the Indictment to the custody of the Bureau of Prisons to be imprisoned for a term of FORTY-
                      EIGHT (48) MONTHS on each of Counts 1, 2 and 3 of the Indictment, to be served concurrently.

The defendant shall pay to the United States a special assessment of $300 which is due immediately. Any unpaid
balance shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the
Bureau of Prisons’ Inmate Financial Responsibility Program.

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that he is
unable to pay and is not likely to become able to pay any fine.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of THREE (3) YEARS, on
each of Counts 1, 2 and 3, all terms to be served concurrently, under the following terms and conditions:

1. The defendant shall comply with the rules and regulations of the U. S. Probation & Pretrial Services Office
   and Second Amended General Order 20-04;

2. The defendant shall not commit any violation of local, state, or federal law or ordinance;



CR-104 (docx 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                               Page 1 of 5
                Case 2:19-cr-00660-CJC Document 98 Filed 01/11/21 Page 2 of 5 Page ID #:443

USA vs.     JAVIER CERVANTES-HERMOSILLO                                      Docket No.:       2:19-cr-00660-CJC-1

3. The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to
   one drug test within 15 days of release from custody and at least two periodic drug tests thereafter, not to
   exceed eight tests per month, as directed by the Probation Officer;

4. During the period of community supervision, the defendant shall pay the special assessment and fine in
   accordance with this judgment’s orders pertaining to such payment;

5. The defendant shall comply with the immigration rules and regulations of the United States, and if deported
   from this country, either voluntarily or involuntarily, not reenter the United States illegally. The defendant
   is not required to report to the Probation Office while residing outside of the United States; however, within
   72 hours of release from any custody or any reentry to the United States during the period of Court-ordered
   supervision, the defendant shall report for instructions to the United States Probation Office, located at the
   300 N. Los Angeles Street, Suite 1300, Los Angeles, CA 90012-3323;

6. The defendant shall cooperate in the collection of a DNA sample from his person; and

7. The defendant shall submit his person, property, house, residence, vehicle, papers, computers (as defined in
   18 U.S.C. § 1030(e)(1)), cell phones, other electronic communications or data storage devices or media,
   email accounts, social media accounts, cloud storage accounts, or other areas under the defendant’s control,
   to a search conducted by a United States Probation Officer or law enforcement officer. Failure to submit to a
   search may be grounds for revocation. The defendant shall warn any other occupants that the premises may
   be subject to searches pursuant to this condition. Any search pursuant to this condition will be conducted at
   a reasonable time and in a reasonable manner upon reasonable suspicion that the defendant has violated a
   condition of his supervision and that the areas to be searched contain evidence of this violation.

The Court recommends that the defendant be housed in a facility where the number of COVID cases is low.

The Court advises the defendant of his right to appeal.


In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
supervision, and at any time during the supervision period orr within the maximum period permitted by law, may issue a warr
                                                                                                                          warrant and revoke
supervision for a violation occurring during the supervision period.



          January 11, 2021
           Date                                                   HON.
                                                                  HO             CARNEY,
                                                                   ON. CORMAC J. CARNE
                                                                                    NE
                                                                                    N EY, U. S. District Judge

It is ordered that the Clerk deliver a copy of this Judgment and
                                                              nd Probation/Commitment Order to the U.S. Marshal
                                                                                                        Marshaal oorr other qu
                                                                                                                            qualified officer.


                                                                  Clerk, U.S. District Court




           January 11, 2021                                 By     /s/ Cheryl Wynn
           Filed Date                                             Deputy Clerk




CR-104 (docx 12/20)                             JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 2 of 5
                 Case 2:19-cr-00660-CJC Document 98 Filed 01/11/21 Page 3 of 5 Page ID #:444

 USA vs.     JAVIER CERVANTES-HERMOSILLO                                            Docket No.:     2:19-cr-00660-CJC-1


The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                               STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:
1.   The defendant must not commit another federal, state, or local           9.      The defendant must not knowingly associate with any persons
     crime;                                                                           engaged in criminal activity and must not knowingly associate with
2.   The defendant must report to the probation office in the federal                 any person convicted of a felony unless granted permission to do so
     judicial district of residence within 72 hours of imposition of a                by the probation officer. This condition will not apply to intimate
     sentence of probation or release from imprisonment, unless                       family members, unless the court has completed an individualized
     otherwise directed by the probation officer;                                     review and has determined that the restriction is necessary for
3.   The defendant must report to the probation office as instructed by               protection of the community or rehabilitation;
     the court or probation officer;                                          10.     The defendant must refrain from excessive use of alcohol and must
4.   The defendant must not knowingly leave the judicial district without             not purchase, possess, use, distribute, or administer any narcotic or
     first receiving the permission of the court or probation officer;                other controlled substance, or any paraphernalia related to such
5.   The defendant must answer truthfully the inquiries of the probation              substances, except as prescribed by a physician;
     officer, unless legitimately asserting his or her Fifth Amendment        11.     The defendant must notify the probation officer within 72 hours of
     right against self-incrimination as to new criminal conduct;                     being arrested or questioned by a law enforcement officer;
6.   The defendant must reside at a location approved by the probation        12.     For felony cases, the defendant must not possess a firearm,
     officer and must notify the probation officer at least 10 days before            ammunition, destructive device, or any other dangerous weapon;
     any anticipated change or within 72 hours of an unanticipated            13.     The defendant must not act or enter into any agreement with a law
     change in residence or persons living in defendant’s residence;                  enforcement agency to act as an informant or source without the
7.   The defendant must permit the probation officer to contact him or                permission of the court;
     her at any time at home or elsewhere and must permit confiscation        14.     The defendant must follow the instructions of the probation officer
     of any contraband prohibited by law or the terms of supervision and              to implement the orders of the court, afford adequate deterrence
     observed in plain view by the probation officer;                                 from criminal conduct, protect the public from further crimes of the
8.   The defendant must work at a lawful occupation unless excused by                 defendant; and provide the defendant with needed educational or
     the probation officer for schooling, training, or other acceptable               vocational training, medical care, or other correctional treatment in
     reasons and must notify the probation officer at least ten days before           the most effective manner.
     any change in employment or within 72 hours of an unanticipated
     change;




 X The defendant must also comply with the following special conditions (set forth below).

           STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject to
 penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable for
 offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money order
 made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments must be
 delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

          If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

          The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:



 CR-104 (docx 12/20)                                 JUDGMENT & PROBATION/COMMITMENT ORDER                                                          Page 3 of 5
                Case 2:19-cr-00660-CJC Document 98 Filed 01/11/21 Page 4 of 5 Page ID #:445

USA vs.     JAVIER CERVANTES-HERMOSILLO                                          Docket No.:      2:19-cr-00660-CJC-1

                      1. Special assessments under 18 U.S.C. § 3013;
                      2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                         States is paid):
                                Non-federal victims (individual and corporate),
                                Providers of compensation to non-federal victims,
                                The United States as victim;
                      3. Fine;
                      4. Community restitution, under 18 U.S.C. § 3663(c); and
                      5. Other penalties and costs.

            CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

         As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit report
inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or open
any line of credit without prior approval of the Probation Officer.

         When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business or
trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance of
opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the new
account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s behalf.

        The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

These conditions are in addition to any other conditions imposed by this judgment.




                                                                      RETURN

I have executed the within Judgment and Commitment as follows:
Defendant delivered on                                                                       to
Defendant noted on appeal on
Defendant released on
Mandate issued on
Defendant’s appeal determined on
Defendant delivered on                                                                    to
    at
    the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                     United States Marshal


                                                               By
           Date                                                      Deputy Marshal




                                                                  CERTIFICATE

I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
legal custody.

CR-104 (docx 12/20)                                JUDGMENT & PROBATION/COMMITMENT ORDER                                                    Page 4 of 5
                Case 2:19-cr-00660-CJC Document 98 Filed 01/11/21 Page 5 of 5 Page ID #:446

USA vs.     JAVIER CERVANTES-HERMOSILLO                                       Docket No.:       2:19-cr-00660-CJC-1


                                                                   Clerk, U.S. District Court


                                                            By
           Filed Date                                              Deputy Clerk



                                                 FOR U.S. PROBATION OFFICE USE ONLY



Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


          These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



          (Signed)
                      Defendant                                                             Date




                      U. S. Probation Officer/Designated Witness                            Date




CR-104 (docx 12/20)                              JUDGMENT & PROBATION/COMMITMENT ORDER                                                  Page 5 of 5
